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                          THE UN ITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNE CTICUT

                                                        3: 17-cv-01628-W WE
PEGGY CERA LDI
                              Plaintiff

      V.


LINDA STRUMPF
U.S EQUITIES CORP
                              Defendants                 June 25, 2018


  AFFIDAVIT OF LINDA STRUMPF IN SUPPORT OF DEFENDANTS' DISCOVERY
     OBJECTIONS TO PLAINTIFF'S FIRST SET OF DISCOVERY REQUESTS

       I, Linda Strumpf, being duly sworn and upon oath states that the following statements are

based upon personal knowledge and are true and correct:

       I.      I am making this declaration in response to Plaintiff's counsel's June 12-13, 2018

emails detailing all of Plaintiffs concerns regarding Defendants' responses to Plaintiff's first set

of discovery requests. (Ex. A.) Further, this affidavit is made in compliance with Vidal v.

Metro-North Commuter R. Co., 2013 WL 1310 4 *1-2 (D. Conn. March 28, 2013).

       2.      Plaintiffs Interrogatory Request No. 4 is not relevant because software used to

keep contemporaneous track of paralegal and attorney time is not relevant to Plaintiff's sole

claims in this case regarding the rate of post judgment interest applied in the state court case or

Defendants' defenses. Further, no such software exists for Defendants.

        3.     Plaintiff's Interrogatory Request No. 5 is not relevant because other Connecticut

lawsuits in which Defendants applied for prejudgment interest in excess of ten percent is not

relevant to Plaintiff's sole claims in this case regarding the rate of post judgment interest applied

in the state court case or Defendants' defenses. This request is also overly broad and unduly

burdensome because it would require Defendants to manually sort through approximately 6,000



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lawsuits and identify those in which Defendants applied for prejudgment interest in excess of ten

percent. It would take at least 15 minutes - most likely more - to review one file, aside from the

efforts to retrieve the files from the storage and costs associated therewith. At a minimum, it

would take one hour to review four files, and 1,500 hours to review 6,000 files. Working forty

hours a week, it would take 37 ½ weeks to respond to this request.                 This request is

disproportionate to the needs of the case.

       4.      Plaintiffs Interrogatory Request No. 6 is not relevant because other Connecticut

lawsuits in which Defendants applied for post judgment interest at a rate of ten percent is not

relevant to Plaintiffs sole claims in this case regarding the rate of post judgment interest applied

in the state court case or Defendants' defenses. This request is also overly broad and unduly

burdensome because it would require Defendants to manually sort through approximately 6,000

lawsuits and identify those in which Defendants applied for post judgment interest at a rate of ten

percent. It would take at least 15 minutes - most likely more - to review one file, aside from the

effo:ts to retrieve the files from the storage and costs associated therewith. At a minimum, it

would take one hour to review four files, and 1,500 hours to review 6,000 files. Working forty

hours a week, it would take 37 ½ weeks to respond to this request.                 This request is

disproportionate to the needs of the case.

        5.     Plaintiff's Interrogatory Request No. 7 is not relevant because other Connecticut

lawsuits in which Defendants applied for attorney's fees is not relevant to Plaintiff's sole claims

in this case regarding the rate of post judgment interest applied in the state court case or

Defendants' defenses.     This request is also overly broad and unduly burdensome because it

would require Defendants to manually sort through approximately 6,000 lawsuits and identify

those in which Defendants applied for attorney's fees. It would take at least 15 minutes - most



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 .
likely more - to review one file, aside from the efforts to retrieve the files from the storage and

costs associated therewith. At a minimum, it would take one hour to review four files, and 1,500

hours to review 6,000 files. Working forty hours a week, it would take 37 ½ weeks to respond to

this request. This request is disproportionate to the needs of the case.

       6.      Plaintiff's Interrogatory Request No. 8 is not relevant because other Connecticut

lawsuits in which Defendants were awarded prejudgment interest in excess of ten percent is not

relevant to Plaintiff's sole claims in this case regarding the rate of post judgment interest applied

in the state court case or Defendants' defenses. This request is also overly broad and unduly

burdensome because it would require Defendants to manually sort through approximately 6,000

lawsuits and identify those in which Defendants were awarded prejudgment interest in excess of

ten percent. It would take at least 15 minutes - most likely more - to review one file, aside from

the efforts to retrieve the files from the storage and costs associated therewith. At a minimum, it

would take one hour to review four files, and 1,500 hours to review 6,000 files. Working forty

hours a week, it would take 37 ½ weeks to respond to this request.                  This request is

disproportionate to the needs of the case.

        7.     Plaintiff's Interrogatory Request No. 9 is not relevant because other Connecticut

lawsuits in which Defendants were awarded post judgment interest at a rate of ten percent is not

relevant to Plaintiff's sole claims in this case regarding the rate of post judgment interest applied

in the state court case or Defendants' defenses. This request is also overly broad and unduly

bprdensome because it would require Defendants to manually sort through approximately 6,000

lawsuits and identify those in which Defendants were awarded post judgment interest at a rate of

ten percent. It would take at least 15 minutes - most likely more - to review one file, aside from

the efforts to retrieve the files from the storage and costs associated therewith. At a minimum, it



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would take one hour to review four files, and 1,500 hours to review 6,000 files. Working forty

hours a week, it would take 37 ½ weeks to respond to this request.                  This request is
                                                                                                         •
disproportionate to the needs of the case.

       8.      Plaintiff's Interrogatory Request No. 10 is not relevant because other Connecticut

lawsuits in which Defendants were awarded post judgment interest without a rate being set is not

relevant to Plaintiff's sole claims in this case regarding the rate of post judgment interest applied

in the state court case or Defendants' defenses. This request is also overly broad and unduly

burdensome because it would require Defendants to manually sort through approximately 6,000

lawsuits and identify those in which Defendants were awarded post judgment interest without a

set rate. It would take at least 15 minutes - most likely more - to review one file, aside from the

efforts to retrieve the files from the storage and costs associated therewith. At a minimum, it

would take one hour to review four files, and 1,500 hours to review 6,000 files. Working forty

hours a week, it would take 37 ½ weeks to respond to this request.                  This request is

disproportionate to the needs of the case.

        9.     Plaintiff's Interrogatory Request No. 11 is not relevant because other Connecticut

lawsuits in which Defendants were awarded attorney's fees at $500.00 per hour is not relevant to

Plaintiff's sole claims in this case regarding the rate of post judgment interest applied in the state

court case or Defendants' defenses. This request is also overly broad and unduly burdensome

because it would require Defendants to manually sort through approximately 6,000 lawsuits and

identify those in which Defendants were awarded attorney's fees at $500.00 per hour. It would

take at least 15 minutes - most likely more - to review one file, aside from the efforts to retrieve

the files from the storage and costs associated therewith. At a minimum, it would take one hour

to review four files, and 1,500 hours to review 6,000 files. Working forty hours a week, it would



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take 37 ½ weeks to respond to this request. This request is disproportionate to the needs of the

case.

         10.   Plaintiffs Interrogatory Request No. 13 is not relevant because the amount U.S.

Equities paid Turtle Creek for the 232 accounts purchased is not relevant to Plaintiff's sole

claims in this case regarding the rate of post judgment interest applied in the state court case or

Defendants' defenses.

         11.   Plaintiff's Interrogatory Request No. 14 is not relevant because whether

Defendants are aware of rulings that a collector may not add post judgment interest if it has not

been awarded by a court, is not relevant to Plaintiff's sole claims in this case regarding the rate

of post judgment interest applied in the state court case or Defendants' defenses.

         12.   Plaintiff's Interrogatory Request No. 16 is not relevant because the date of the

most recent application for 24 percent prejudgment interest in a collection suit brought by U.S.

Equities is not relevant to Plaintiff's sole claims in this case regarding the rate of post judgment

interest applied in the state court case or Defendants' defenses.

         13.   Plaintiff's Interrogatory Request No. 17 is not relevant because whether U.S.

Equities stopped applying for 24 percent prejudgment interest is not relevant to Plaintiff's sole

claims in this case regarding the rate of post judgment interest applied in the state court case or

Defendants' defenses.

         14.   Plaintiff's Request for Admission No. 5 is not relevant because the hourly rate of

attorney's fees that I was requesting in 2010 is not relevant to Plaintiff's sole claims in this case

regarding the rate of post judgment interest applied in the state court case or Defendants'

defenses.




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        15.    Plaintiff's Request for Admission No. 6 is not relevant because whether I

regularly collect consumer debts as the attorney for U.S. Equities is not relevant to Plaintiff's
 .
sole claims in this case regarding the rate of post judgment interest applied in the state court case

or Defendants' defenses.

        16.    Plaintiff's Request for Admission No. 8 is not relevant because the number of

years U.S. Equities has been licensed as a Consumer Collection Agency in Connecticut is not

relevant to Plaintiff's sole claims in this case regarding the rate of post judgment interest applied

in the state court case or Defendants' defenses.

        17.    Plaintiff's Request for Admission No. 14 is not relevant because the reason U.S.

Equities applied for attorney's fees in the state court action is not relevant to Plaintiff's sole

claims in this case regarding the rate of post judgment interest applied in the state court case or

Defendants' defenses.

        18.    Plaintiff's Request for Admission No. 16 is not relevant because whether Chase

sent Plaintiff any periodic statements after April 30, 2008 is not relevant to Plaintiff's sole claims

in this case regarding the rate of post judgment interest applied in the state court case or

Defendants' defenses.

        19.    Plaintiff's Request for Admission No. 17 is not relevant because whether Chase

could legally charge Plaintiff interest once it stopped sending periodic statements is not relevant

to Plaintiff's sole claims in this case regarding the rate of post judgment interest applied in the

state court case or Defendants' defenses.

        20.     Plaintiff's Request for Admission No. 18 is not relevant because whether Chase

waived interest by not adding interest after charge-off is not relevant to Plaintiff's sole claims in




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this case regarding the rate of post judgm ent interest applied in the state court case or

Defendants' defenses.

        21.     Plaintiff's Request for Admission No. 19 is not relevant because whether Chase's

contractual interest rate was variable or fixed is not relevant to Plaintiffs sole claims in this case

regarding the rate of post judgment interest applied in the state court case or Defendants'

defenses.

        22.    Plaintiffs Request for Admission No. 20 is not relevant because whether Chase

could legally charge Plaintiff 24 percent interest is not relevant to Plaintiff's sole claims in this

case regarding the rate of post judgment interest applied in the state court case or Defendants'

defenses.

       23.     Plaintiffs Request for Admission No. 27 is not relevant because whether U.S.

Equities paid less than $100,000 for the 232 accounts purchased from Turtle Creek is not

relevant to Plaintiff's sole claims in this case regarding the rate of post judgm ent interest applied

in the state court case or Defend ants' defenses.

       24.     Plaintiffs Request for Docum ents No. 1 is not relevant because not all docum ents

and comm unications concerning Plaintiff during and after 2016 are relevant to Plaintiffs sole

claims in this case regarding the rate of post judgment interest applied in the state court case or

Defendants' defenses.

       25.     Plaintiffs Request for Documents No. 2      is not relevant because the category and

location of documents, electronically stored information and tangible things are not relevant to

Plaintiffs sole claims in this case regarding the rate of post judgment interest applied in the state

court case or Defendants' defenses.




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       26.      Plaintiff's Request for Documents No. 3 is not relevant because any insurance

agreement is not relevant to Plaintiff's sole claims in this case regarding the rate of post

judgment interest applied in the state court case or Defendants' defenses.

       27.      Plaintiff's Request for Documents No. 4 is not relevant because the retainer

agreement in the state court case against Ms. Ceraldi is not relevant to Plaintiff's sole claims in

this case regarding the rate of post judgment interest applied in the state court case or

Defendants' defenses.

       28.      Plaintiff's Request for Documents No. 8 is not relevant because Plaintiff's checks

and deposit slips are not relevant to Plaintiff's sole claims in this case regarding the rate of post

judgment interest applied in the state court case or Defendants' defenses:      This request is also

overly broad and unduly burdensome because it would require Defendants to contact the bank

and request copies of checks and deposit slips for approximately 360 payments made by Plaintiff

through June 1, 2018. This would be very costly and is disproportionate to the needs of the case.

        29.     Plaintiff's Request for Documents No. 9 is not relevant because all time records

showing time expended in the state court action is not relevant to Plaintiff's sole claims in this

case regarding the rate of post judgment interest applied in the state court case or Defendants'

defenses. Further, no time records exist.

        30.     Plaintiff's Request for Documents No. 10 is not relevant because the electronic

spreadsheet for the time records in its native format is not relevant to Plaintiff's sole claims in
 .
this case regarding the rate of post judgment interest applied in the state court case or

Defendants' defenses. Further, an electronic spreadsheet in its native format does not exist.


Dated this    d,,J   day of June, 2018.




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                                                  Linda Strum pf

SWORN TO Br'.FORE ME this
li day of   J 0 !Jc   , 2018.




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                 EXHIBIT A
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 Rossman, John K.

 From:                             Joanne Faulkner <j.faulkner@snet.net>
 Sent:                             Wednesday, June 13, 2018 11:45 AM
 To:                               Rossman, John K.
 Subject:                          Re: settlement, discovery



As stated in Vidal, objections should have been supported by specific affidavits.
That has nothing to do with the verifications I received.


Joanne S. Faulkner, Attorney
 123 Avon Street
 New Haven CT 06511
(203) 772-0395
j.faulkner@snet.net
faulknerctlaw@gmail.com

From: Rossman, John K.
Sent: Wednesday, June 13, 2018 11:26 AM
To: 'Joanne Faulkner'
Subject: RE: settlement, discovery

        Thank you Joanne. Unfortunately, it does not appear that the parties had a settlement. However, we will have
to agree to disagree on that.


         On the discovery concerns, I will have to review these more closely and advise. One question: several of your
comments state "no affidavit". I am not certain what you mean by that. Below is the signature block, for instance,
from the interrogatories:




                           VERIFICATION OF RESPONES TO INTERROGATORIES

         "I verify under penalty of perjury that the foregoing is true and correct."

         Executed on June       -2__, 2018.


         Executed on June       _i, 2018.                                     U.S. EQUITIES CORP.

                                                                              By:~

        Are you saying you want these signatures notarized or what do you mean by "no affidavit"? I am not aware of
any rule requiring an "affidavit" for a party to respond to discovery.


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              Thank you.


              •      John


John K. Rossman
Attorney at Law

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150 South Fifth Street               Suite 1200           Minneapolis, MN 55402
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From: Joanne Faulkner [mailto:j.faulkner@snet.net]
Sent: Wednesday, June 13, 2018 8:19 AM
To: Rossman, John K.
Subject: Re: settlement, discovery


Until your clients honor their settlement agreement, nothing goes up but the attorney's fees.


Assuming you read Vidal and I don't need to repeat the defects I already called your attention to, including
failure to comply with production rules.



Int 4: described but not "identified." What is the software named? Who has the proprietary rights?



Int. 5-11. Boilerplate objections waived; no affidavit. Please provide. Definitely not readily available due to the
Judicial System erasure policy, but that is not a federal objection anyway. Charter Practices Int'l, LLC v. Robb,
No. 3: 12CV1768 RNC, 2014 WL 273855, at *2 (D. Conn. Jan. 23, 2014)



Int. 13 Boilerplate objections waived; no affidavit. Please provide.



Int 14 Boilerplate objections waived; no affidavit. Please provide There is no objection to form as to
interrogatories.



Int. 16 Boilerplate objections waived; no affidavit. Please provide the date.

( Your clients are well aware that the 24% was not allowed by contract or federal/state law.)

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Int. 17 Boilerplate objections waived; no affidavit. Please provide a non-evasive response.




All Production requests: Boilerplate objections waived; no affidavit. Please respond w/o boilerplate




All Admissions: Boilerplate objections waived; no affidavit. Please respond w/o boilerplate. No good reason to
be so evasive; damages credibility.




Adm 5, 6: reasonable inquiry not conducted, non-responsive.

Adm 7: USE does not have and cannot use that corp name in CT; please admit

Adm 8, non-responsive; reasonable inquiry not conducted/ they know how long USE has been licensed.




Adm. 10. In view of all the lawsuits filed, the denial is specious. No need to be evasive.




Adm 11, 12. 16: reasonable inquiry not conducted, non-responsive. Just check the CT docket and their own
records!



Adm 17-21: See rule 36(a)(l)(a)

Adm 21. Respond directly, then explain.

The denials in 22-24 are evasive and specious.

Adm 26 reasonable inquiry not conducted, non-responsive. Matter of public record admitted by your clients in
state court proceedings.



Adm 27. That does not request anything possibly objectionable, and waived by no affidavit anyway.




Joanne S. Faulkner, Attorney
123 Avon Street
                                                         3
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New Haven CT 06511
( 203) 772-0395
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faulknerctlaw@gmail.com
On 6/12/2018 3:08 PM, Rossman, John K. wrote:
              Thanks Joanne. I will await your work up for our discussion on the discovery responses. I do
      take issue with your statement that "the responses are so noncompliant, they are not
      responses at all" and disagree completely with that comment.

                  I haven't been following Bars hay's cases that closely. Is he trying to get Taylor overturned?

                 Thank you.

                  • John


      John K. Rossman
      Attorney at Law

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      150 South Fifth Street         Suite 1200        Minneapolis, MN 55402
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      From: Joanne Faulkner [mailto:j.faulkner@snet.net]
      Sent: Tuesday, June 12, 2018 2:03 PM
      To: Rossman, John K.
      Subject: Re: settlement, discovery

      The list is almost as long as the responses. I am proceeding on the assumption that since
      the responses are so noncompliant, they are not responses at all.
      Let me see if I can work up something for discussion, presuming you will correct the
      already-specified deficiencies with no further ado.

      Barshay got another 2d cir order today for expedited briefing in another case. I don't
      know how many of these he has pending!


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      faulknerctlaw@gmail.com
      On 6/12/2018 2:39 PM, Rossman, John K. wrote:
                         Thank you Joanne. It would be most efficient for you to provide me with your
                 entire "list" now, rather than doing this piecemeal. Since I have asked and you will not
                 provide me with that list, I will proceed with the presumption that Plaintiff has no other
                 objections or concerns.

                             Thank you.
                                                                               4
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            •     John


John K. Rossman
Attorney at Law

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Please click here for our disclairr1er and here for our privacy policy



From: Joanne Faulkner [mailto:j.faulkner@snet.net]
Sent: Tuesday, June 12, 2018 1:05 PM
To: Rossman, John K.
Subject: Re: settlement, discovery

Don't worry about that until the responses are in procedural order.
I will call to discuss then, hopefully with many checked off the list.



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On 6/12/2018 12:26 PM, Rossman, John K. wrote:
                        Thanks Joanne. What are your other concerns?


            John K. Rossman
           Attorney at Law

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            Please click here for our disclaimer and here for our privacy policy,



            From: Joanne Faulkner [mailto:j.faulkner@snet.net]
           Sent: Tuesday, June 12, 2018 11:24 AM
           To: Rossman, John K.
           Subject: Re: settlement, discovery

           I have lots more concerns, but getting the technicalities out of the
           way will facilitate substantive discussion of the rest, and probably
           obviate some concerns without discussion.



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      faulknerctlaw@gmail.com

      From: Rossman, John K.
     Sent: Tuesday, June 12, 2018 12:07 PM
     To: 'Joanne Faulkner'
     Subject: RE: settlement, discovery

              Thanks Joanne. I enjoyed meeting you last week. I mentioned
     that I saw your name in a blog post. I found it again and here it is:

     https://www.nclc.org/images/pdf/countryman/faulkner 02.pdf

             We will have to agree to disagree about whether there was a
     settlement. Obviously the Court will decide that issue with the motion
     now fully briefed. Further, we did discuss discovery in the presence of
     the Court last week, but neither of us had the responses in hand.

             On the discovery, I will review the cases and concerns you set
     forth below within a week as you suggest and advise. Please confirm
     that your email below encompasses all of your objections and concerns
     regarding Defendants' discovery responses. In the interests of economy
     and efficiency, it makes sense to address all of Plaintiff's concerns at
     once, rather than piecemeal. I will certainly make myself available for a
     good faith discussion.

                 Thank you.

                  •     John


     John K. Rossman
     Attorney at Law

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     150 South Fifth Street           Suite 1200         Minneapolis, MN 55402
     Notice Important disc!aime!'s rind lii'nitation~;      to this
     P!nase click here for our disclaimer and here        our privacy policy.



     From: Joanne Faulkner [mailto:j.faulkner@snet.net]
     Sent: Tuesday, June 12, 2018 9:18 AM
     To: Rossman, John K.
     Subject: settlement, discovery

     Settlement
     Since Equities did not recommend any change after Ceraldi
     accepted the offer, please be sure it complies with the
     agreement.
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      I just found a CT case that says a "suggested" change is not a
      counter or rejection, so it seems that Strumpf is bound by the
      accepted agreement as well, despite her recommendation.

     "Although it articulates various issues that the defendants
     had with the April 14, 2014 proposed agreement, the
     comment sheet does not contain any rejection-explicit or
     implicit-of that proposal."

     Al Dente, LLC v. Consiglio, 171 Conn. App. 576, 594-95, 157
     A.3d 743, 753-54 (2017). Here, of course, we had a concluded
     agreement.

     Discovery

     I can see why you did not want to discuss the discovery with Judge
     Fitzsimmons. Please re-read her ruling and comply.

     Vidal v. Metro-NorthCommuterR. Co., 2013 WL 1310504 *1-
     2 (D. Conn. March 28, 2013)

     In addition, please comply with Rule 34(b)(2)(c) to allow us
     to have a good faith discussion. Also, cross reference to
     documents must be to specific documents to enable a
     productive discussion.
     "Rule 33 does not permit a party to avoid specific responses to
     interrogatories by reference to undifferentiated masses of
     documents." This, LLC v. Jaccard Corp., No. 3: 15-CV-1606(JBA),
     2017 WL 547902, at *3 (D. Conn. Feb. 9, 2017).

     "when a response to a production for documents is not a
     production or an objection, but an answer, the party must answer
     under oath."

     Lutes v. Kawasaki Motors Corp., USA, No. 3:10CV1549 WWE,
     2014 WL 7185469, at *1 (D. Conn. Dec. 16, 2014).

     There are several inconsistencies. For instance, Int 14 denies that it
     sought fees because it was a consumer transaction, but the cited
     section allows fees only if it is a consumer transaction. See also
     Prod 9, which refers to the cited section as allowing 15% when it
     allows reasonable fees UP TO 15%. And, defendants deny or
     quibble about exact quotes from Strumpf's web site and prior
     deposition.

     So, please get compliance that far within a week and we can
     discuss the balance. Thanks.




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